Case 9:22-cv-00134-DWM Document8 Filed 08/16/22 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
CENTER FOR BIOLOGICAL CV 22-134-M—-DWM
DIVERSITY, et al.,
Plaintiffs,

ORDER
vs.

UNITED STATES DEPARTMENT
OF THE INTERIOR, et al.,

Defendants.

 

 

Pursuant to Federal Rules of Civil Procedure 16(b) and 26(f) and Local
Rules 16.1, 16.2, & 26.1,

IT IS ORDERED:

1. Responsibility of Plaintiffs’ Counsel. This Order is issued at the outset
of the case, and a copy is delivered by the Clerk of Court to counsel for the
plaintiffs. The plaintiffs’ counsel is directed to serve a copy of this Order to each
other party within ten (10) days after receiving notice of that party’s appearance.
The plaintiffs’ case may be dismissed without prejudice if the plaintiffs fail to
serve opposing counsel with this Order.

2. Preliminary Pretrial Statement. The parties are not required to file a

preliminary pretrial statement.
Case 9:22-cv-00134-DWM Document8 Filed 08/16/22 Page 2 of 4

3. Rule 26(f) Conference and Case Management Plan. The parties shall
file a proposed case management plan on or before November 14, 2022. The
parties shall e-mail a copy of the proposed case management plan in Word format
to dwm_propord@mtd.uscourts.gov. Lead trial counsel for the respective parties
shall, at least two weeks before the proposed case management plan is due, meet to
discuss the nature and basis of their claims and defenses, to develop the proposed
case management plan, and to discuss the possibilities for a prompt settlement or
resolution of the case. See Fed. R. Civ. P. 1. The case management plan resulting
from the Rule 26(f) conference is not subject to revision, absent compelling
reasons.

4. Contents of Case Management Plan. The proposed case management
plan should contain deadlines for the following pretrial motions and events or
should state that such deadlines are not necessary:

Motions to Dismiss (fully briefed)

Certification of Administrative Record

Motions to Supplement the Administrative Record

Motions to Amend the Pleadings

Completion of Discovery

Motions for Summary Judgment (fully briefed)

Additional Deadlines Agreed to by the Parties
“Fully briefed” means that the motion, the brief in support of the motion, and the

opposing party’s response brief are filed with the Court by the deadline. A party

seeking to amend the pleadings after the date specified above must show “good
Case 9:22-cv-00134-DWM Document 8 Filed 08/16/22 Page 3 of 4

cause” for amendment under Federal Rule of Civil Procedure 16(b)(4). Only when
that showing has been made will the Court consider whether amendment is proper
under Federal Rule of Civil Procedure 15.

5. Representation at Rule 26(f) Conference. Each party to the case must
be represented at the Rule 26(f) conference by at least one person with authority to
enter into stipulations.

6. Stipulation to Foundation and Authenticity. Pursuant to Rule
16(c)(3), the parties shall either:

(a) enter into the following stipulation:

The parties stipulate as to foundation and authenticity for all written
documents produced in pre-trial disclosure and during the course of
discovery. However, if receiving counsel objects to either the
foundation or the authenticity of a particular document, then receiving
counsel must make specific objections to producing counsel in writing
within a reasonable time after receiving the document. A “reasonable”
time means that producing counsel has sufficient time to lay the
foundation or establish authenticity through depositions or other
discovery. If the producing party objects to a document’s foundation
or authenticity, the producing party shall so state, in writing, at the time
of production, in sufficient time for receiving counsel to lay the
foundation or establish authenticity through depositions or other
discovery. All other objections are reserved.

or

(b) state why a stipulation to authenticity and foundation is not
appropriate for the case.

7. Administrative Record. If an administrative record is involved, it must

be filed on CDs or a thumb drive in an indexed and searchable format. The
3
Case 9:22-cv-00134-DWM Document 8 Filed 08/16/22 Page 4 of 4

government shall provide the plaintiffs with the administrative record on or before
the administrative record filing deadline set out in | 4, supra. The government
must also file with the Court a single hard copy of the following documents (along
with any attachments or appendices), to the extent any such documents are at issue
in the case:

Final Environmental Impact Statement/Environmental Assessment

Supp. Environmental Impact Statement/Environmental Assessment

Record of Decision or Decision Notice

Forest Plan or other programmatic planning document

Biological Assessment

Biological Opinion

Finding of No Significant Impact

Final Listing/Delisting Rule
8. Hyperlinked Briefs. In addition to filing all summary judgment
briefs/responses/replies on the electronic docket, the parties are required to
contemporaneously submit a thumbdrive containing a digital version of the brief
(Word or PDF) with hyperlinks to the record citations.
9. Acronyms. In all documents filed with the Court, the parties shall not use any
acronyms except for the following commonly understood acronyms in record

review cases: NEPA, NFMA, APA, ESA, EIS, and EA.

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DATED this le day of August, 2022.

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Donald W, Molloy, District Judge
United States District Court

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